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                  UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                               WACO DIVISION
                               WACO


DROPBOX INC                                §
                                           §
vs.                                        §     NO:   WA:20-CV-00251-ADA
                                           §
MOTION OFFENSE, LLC, MOTION                §
OFFENSE, LLC, DROPBOX INC

                ORDER SETTING DISCOVERY
                              Discovery HEARING

      IT IS HEREBY ORDERED that the above entitled and numbered case is set
                                                                         set for

DISCOVERY HEARING by Zoom
                     Zoom on July 26, 2022 at 02:00 PM.



                                    25th day of July, 2022.




                                               Alan D Albright
                                               UNITED STATES DISTRICT JUDGE
